                                                     Entered on Docket
                                                     August 20, 2020
                                                     EDWARD J. EMMONS, CLERK
                                                     U.S. BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF CALIFORNIA


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                                                   U.S. Bankruptcy Judge
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  7
                                   UNITED STATES BANKRUPTCY COURT
  8
                                   NORTHERN DISTRICT OF CALIFORNIA
  9
                                           SAN FRANCISCO DIVISION
 10

 11
          In re:                                               Bankruptcy Case No. 20-30242 (HLB)
 12
          ANTHONY SCOTT LEVANDOWSKI,                           Chapter 11
 13

 14                                      Debtor.               ORDER GRANTING IN PART AND
                                                               DENYING IN PART OMNIBUS
 15                                                            MOTION FOR APPROVAL OF
                                                               (A) SECOND CHAPTER 11 BUDGET;
 16                                                            (B) EMPLOYMENT OF SUZANNA
                                                               MUSICK; (C) ABANDONMENT OF
 17                                                            CERTAIN ASSET; AND
 18                                                            (D) DISSOLUTION OF TEAM L LLC

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 20                Upon the motion, dated July 30, 2020 (the “Motion”)1 of Anthony Scott Levandowski, as
 21   debtor and debtor in possession (the “Debtor”) in the above-captioned chapter 11 case (the
 22   “Chapter 11 Case”) pursuant to sections 105, 363, 541, and 554 of title 11 of the United States
 23   Code (the “Bankruptcy Code”) for entry of an order approving: (i) the Second Budget for the
 24   Use of the Debtor’s Cash and Postpetition Income; (ii) the employment of Suzanna Musick as
 25   the bookkeeper to the Debtor; (iii) abandonment of the Debtor’s Volkswagen Jetta; and
 26   (iv) dissolution of Team L LLC, as more fully set forth in the Motion; and this Court having
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        Capitalized terms used but not otherwise herein defined have the meanings ascribed to such
 28   terms in the Motion.

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  1   jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157
  2   and 1334, and the Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges,
  3   General Order 24 and Rule 5011-1(a) of the Bankruptcy Local Rules for the United States
  4   Bankruptcy Court for the Northern District of California; and consideration of the Motion and
  5   the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being
  6   proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of
  7   the Motion having been provided to the parties listed therein, and it appearing that no other or
  8   further notice need be provided; and this Court having reviewed the Motion and the Declaration
  9   of Allen Soong filed in support thereof; and upon the record and all of the proceedings had
 10   before the Court; and this Court having found and determined that the relief sought in the
 11   Motion, as modified herein, is in the best interests of the Debtor, his estate, creditors, and all
 12   parties in interest; and that the legal and factual bases set forth in the Motion establish just cause
 13   for the modified relief granted herein; and after due deliberation and sufficient cause appearing
 14   therefor,
 15          IT IS HEREBY ORDERED THAT:
 16          1.      The Motion is granted in part and denied in part as provided herein.
 17          2.      The Debtor is authorized, pursuant to section 363(c) of the Bankruptcy Code, to
 18   use his cash on hand and postpetition income to pay the expenses outlined in the Second Chapter
 19   11 Budget.
 20          3.      The Debtor is authorized to donate the 2009 Volkswagen Jetta to charity.
 21          4.      The Debtor is authorized to dissolve Team L LLC.
 22          5.      The relief requested with respect to Ms. Musick is denied for the reasons stated on
 23   the record.
 24          6.      This Court shall retain jurisdiction to hear and determine all matters arising from
 25   or related to the implementation, interpretation, or enforcement of this Order.
 26                                         ** END OF ORDER **
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